439 F.2d 153
    Robert E. BUIE, Plaintiff-Appellant,v.Joe PIGOTT, District Attorney for Fourteenth Circuit CourtDistrict of the State of Mississippi, and RobertReeves, County Attorney for Pike County,Mississippi, Defendants-Appellees.
    No. 71-1337.
    United States Court of Appeals, Fifth Circuit.
    March 10, 1971.
    
      Melvin B. Bishop, Pat H. Scanlon, Jackson, Miss., for appellant.
      Joe Pigott Dist. Atty., McComb, Miss., Robert Reeves, County Atty., Pike County, Magnolia, Miss., A. F. Summer, Atty. Gen., Jackson, Miss., for appellees.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
    
    BY THE COURT:
    
      1
      The appellant brought suit in the United States District Court for the Southern District of Mississippi, praying for temporary and permanent injunctive relief against alleged multiple prosecutions in the state courts of Mississippi which he claims are carried on in bad faith and without hope of ultimate success and in retaliation for a civil action brought by him for damages for alleged abuse of criminal process.
    
    
      2
      On February 24, 1971, the District Court dismissed the case, stating in substance that the issuance of injunctive relief was, under the circumstances, prohibited by the federal anti-injunction statute, 28 U.S.C. 2283; that since no First Amendment rights were involved, the principles of Dombrowski v. Pfister, 380 U.S. 479, 85 S.Ct. 1116, 14 L.Ed.2d 22 (1965) and its progeny did not authorize the issuance of an injunction; and that plaintiff would suffer no irreparable injury.
    
    
      3
      One day earlier, the Supreme Court had decided Younger v. Harris, 401 U.S. 37, 91 S.Ct. 746, 27 L.Ed.2d 669, Perez v. Ledesma, 401 U.S. 82, 91 S.Ct. 674, 27 L.Ed.2d 701; and Dyson v. Stein, 401 U.S. 200, 91 S.Ct. 769, 27 L.Ed.2d 781.
    
    
      4
      Appellant filed in this Court notice of appeal and a motion for injunctive relief pending appeal.  The order of the District Court is vacated and the cause remanded to the District Court for further consideration by it in the light of the foregoing decisions by the Supreme Court of February 23, 1971.  The District Court is directed to enter at once an order enjoining any further action of the grand jury of Pike County, Mississippi concerning the appellant, pending final disposition by the District Court of the case on remand.
    
    
      5
      Vacated and remanded with directions.
    
    